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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        CR. NO. 06-00080 som
                              )
          Plaintiff,          )        ORDER REQUESTING BRIEFING
                              )
     vs.                      )
                              )
KEVIN GONSALVES,    (03)      )
                              )
          Defendant.          )
_____________________________ )


                     ORDER REQUESTING BRIEFING

     Defendant Kevin Gonsalves and the Government have signed a

Memorandum of Plea Agreement, which has been submitted to the

court for review in anticipation of a hearing on Defendant’s

motion to withdraw his not guilty plea and to plead anew.

     This case has a long history well known to the parties.              In

summary, Defendant and others were charged in an Indictment that

included counts of murder committed for the purpose of

maintaining positions in a RICO enterprise.        In February 2008, on

the eve of trial, Defendant pled guilty with a plea agreement.

The guilty plea included a plea of guilty to a murder count,

which, as noted in the plea colloquy Defendant had with the

court, carried a statutory mandatory life sentence.            In the plea

agreement, Defendant and the Government agreed to a specific

sentence of 27.5 years under Rule 11(c)(1)(C) of the Federal

Rules of Criminal Procedure.     To overcome the statutory mandatory

life sentence, the Government filed a motion asking for a
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sentence below life in prison based on what the Government

described as Defendant’s substantial assistance to the Government

in obtaining the guilty pleas of others.       At the time of

sentencing, the court denied the Government’s substantial

assistance motion, stating that the record before it did not

contain evidence of substantial assistance.        Rather, the record

only established that Defendant and co-Defendants had pled guilty

on the same day, not that Defendant had caused anyone else to be

prosecuted or to plead guilty.     Having rejected the plea

agreement, the court permitted Defendant to withdraw his earlier

guilty plea and set the matter for trial.       Defendant now presents

a new plea agreement.

     The new plea agreement also contains the parties’ agreement

to a sentence of 27.5 years.     It differs from the earlier plea

agreement in being based on a plea of guilty to an Information

that does not include any murder count.       The charges in the

Information do not carry a mandatory life sentence, although the

plea agreement includes Defendant’s admission to murder.

     This court has reviewed the presentence investigation report

prepared in connection with the sentencing hearing that flowed

from the plea agreement that was ultimately rejected.           With that

information, this court examines the new plea agreement

considerably more informed than it is in the normal case, in




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which the court conducts a Rule 11 plea colloquy before a

presentence investigation report has been prepared.

     The court now requests briefing from the parties on the

issue of whether the charges in the Information adequately

reflect the seriousness of Defendant’s conduct, and whether the

proposed sentence of 27.5 years adequately reflects the

seriousness of the offense.     The new plea agreement states, at

paragraph 9, that “the parties agree that the charges to which

the Defendant is pleading guilty adequately reflect the

seriousness of the actual offense behavior and that accepting

this Agreement will not undermine the statutory purposes of

sentencing.”   At paragraph 10(b), the new plea agreement states

that a sentence of 330 months “(1) takes into account the nature

and circumstances of the offenses and the history and

characteristics of the Defendant; (2) reflects the seriousness of

the offenses; (3) promotes respect for the law; (4) provides just

punishment for the offenses; (5) affords adequate deterrence to

criminal conduct; and (6) protects the public from further crimes

of the Defendant.”   The court now asks the parties to provide the

bases for these statements.

     The parties may want to review United States v. Torres-

Echavarria, 129 F.3d 692 (2d Cir. 1997).       This court reserves any

decision on accepting or rejecting the plea agreement.




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     To aid the parties in their briefs, this court makes the

following points.

     First, the court stresses that it recognizes a prosecutor’s

discretion to determine what charges, if any, to seek.            This

court in no way seeks to intrude into the arena of prosecutorial

discretion.   However, this case involves the unusual circumstance

of a record that supports a federal murder charge with a

mandatory life sentence.       Putting aside the issue of what

evidence would be admitted if this case went to trial, the court

has an uncontested record supporting the federal murder

conviction.   That is a critical difference from what the record

typically provides when a judge is presented with a plea

agreement.    Congress has determined that the federal murder

conviction merits a mandatory life sentence.         Congress has

provided two methods by which a defendant may escape a life

sentence: qualification for the safety valve, which clearly does

not apply here, or the granting of a government motion

acknowledging the defendant’s substantial assistance in the

prosecution or conviction of one or more other persons.            The

parties here propose that Defendant, having indisputably

committed murder, escape a life sentence not through those

statutory means, but by pleading to something less than the

record supports with a plea agreement they ask this court to

accept.   This court has considerable discretion in evaluating a


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plea agreement and asks the parties to address why the decision

by Congress that Defendant’s behavior merits a mandatory life

sentence should be overcome by a plea agreement in the face of a

record that establishes Defendant’s actions.

     Second, this court recognizes the parties’ commitment to the

sentence they agreed to in the rejected plea agreement.           Counsel

is understandably motivated, both by duties to clients and by the

importance of maintaining credibility with opponents, to attempt

to reach the same result through other means.        However, in

seeking approval of a sentence of 27.5 years, the parties have

not identified for the court what they are giving up in return

for agreeing to such a sentence.       Certainly, the parties are

giving up the right to go to trial and win their respective

cases, and they are saving themselves considerable time, money,

and risk.   The question the court has is whether any party is

giving up anything of value in giving up the right to go to

trial.   Another way of putting the question is to ask what, if

any, risks are the parties protecting themselves from?           The

answer to this question may influence this court’s view of

whether the Information adequately reflects the seriousness of

Defendant’s actions, and whether the proposed sentence meets the

goals of sentencing.

     Thus, if trial on the original charges would almost

certainly result in acquittal, then Defendant is clearly giving


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up something better for something less, and the Government is

gaining a great deal through the new plea agreement.            The court

is interested in learning why it should approve the new plea

agreement if that is so.       Even if acquittal would not be assured,

is Defendant giving up a viable defense or appellate issue in

entering into the plea agreement, and is the proposed 27.5-year

sentence commensurate with what Defendant is giving up?            Is the

Government saving itself from certain evidentiary difficulties it

would face if the case went to trial, and, if so, are those

difficulties commensurate with what the Government is giving up?

     If, on the other hand, trial on the original charges would

almost certainly result in conviction, then the Government is

giving up a conviction with a mandatory life sentence in return

for a conviction with an agreed-upon 27.5-year sentence.             If that

is the situation, the Government is giving up something better

(from its point of view) for something less, and Defendant

clearly reaps certain benefits without giving up anything in

return.   He receives a sentence below life while maintaining his

position, expressly stated in paragraph 10(d) of the plea

agreement, that the Government cannot require him to testify

against anyone else.   He also avoids the uncertainty he would

face if he proceeded in state court and had to face a state

parole board that would not commit to release him after 27.5

years.    Again, the court is interested in understanding why it


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should approve the plea agreement if the Government believes it

would likely obtain conviction on the original charges and if

Defendant cannot identify a viable defense or issue.

     Viable defenses or appellate issues on the defense side, as

well as proof difficulties on the Government side, may indeed

exist.   However, the parties have not to date identified for the

court such defenses, issues, or evidentiary problems.            By way of

illustration only (and not instruction or recommendation), the

court notes that the parties may want to consider addressing the

court’s concern by providing details of what they might face if

the case were tried.   That is, one of the factors the court will

consider in evaluating the plea agreement is the difficulty each

party faces in trying the original charges, and the likelihood of

each side’s success.   Presumably, each side would want to outline

any difficulty ex parte, which the court would allow if no other

party objected.   Although the court provides this illustration,

it fully understands that the parties may not be able to

establish such difficulty or may not want to do so.            For example,

the parties may be concerned that, even after reviewing details

provided by the parties, the court will nevertheless reject the

plea agreement, leaving the parties with a trial judge who will

make evidentiary rulings informed by the parties’ ex parte

admissions of the weaknesses in their proof.        Even if this judge

reviews details from the parties, rejects the plea agreement, and


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then considers recusing herself from the trial, the court will

want to be assured that the replacement judge will try the case,

not go through the same plea agreement exercise presented to this

judge, leading to a repetition of the entire exercise.

     In raising the above matters, the court by no means intends

to indicate that it is committed to rejecting any plea agreement

the parties may submit.    Nor are the parties restricted to

identifying trial difficulties in demonstrating to the court why

it should accept the new plea agreement.       There may be other

information the parties could provide, and they are invited to

present such other material.

     The parties are well aware that they can avoid the entire

issue of the mandatory life sentence through other means.

Defendants could, for instance, provide actual substantial

assistance to the Government.     They could, alternatively, opt to

resolve this case in state court, where charges remain pending.

The court, unlike the parties, has never committed itself to any

particular sentence, but the parties are by no means entirely

dependent on rulings by this judge in seeking such a sentence.

In saying that, this court stresses that it is not suggesting

that it will reject the new plea agreement or that the parties

should seek other avenues.     The court is only noting that the

parties are not restricted to the approach they are now taking.




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     The Rule 11 hearing on Defendant’s proposed change of plea

is set for Wednesday, September 24, 2008, at 1 p.m.            The briefs

requested in the present order must be filed no later than 9 a.m.

on Wednesday, September 24, 2008.      The court must shortly mail

out hundreds of juror questionnaires if trial is to proceed as

scheduled on October 21, 2008.

          IT IS SO ORDERED.

          DATED: Honolulu, Hawaii, September 22, 2008.




                                  /s/ Susan Oki Mollway
                                 Susan Oki Mollway
                                 United States District Judge




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